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Election 2023:
Priorities and Concerns
of Houston Residents
Daniel Potter, Anna Glanzer, Katherine Perez, Alec Tobin and Karen Pren




                                                                                             Photo by Juan Nino on Pexels
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Key Findings


Top priorities for Houston’s next mayor:

 ▪ About 8 in 10 Houston residents said it was very          ▪ Nearly three-quarters of Houston residents said it
     important for the next mayor to do something              was very important for the next mayor to prioritize
     to reduce crime. One-third of residents reported          policies to make housing more affordable. Almost
     feeling their neighborhood was not a safe place to        40% of Houstonians reported they were “often”
     live, and 1 in 5 Houstonians reported “often” or          or “almost always” worried about being able to
     “almost always” feeling unsafe in their day-to-day        pay the rent or mortgage each month. In addition,
     lives. To address the issue, 61% strongly agreed that     about 40% of residents were “often” or “almost
     Houston needed a mayor who would be “tough on             always” worried about development making their
     crime,” and 67% strongly agreed the city needed           neighborhood more expensive.
     a mayor who would improve funding to mental
                                                             ▪ Many of the top priority areas for the next mayor
     health services and community policing as part of a
                                                               were shared by diverse groups in the population
     strategy to reduce crime and improve safety.
                                                               and across different regions of the city, providing
 ▪ Nearly three-quarters of Houston residents said             several collective mandates for what residents want
     it was very important for the next mayor to take          done by their next mayor.
     action to improve the city’s physical infrastructure,
     such as sidewalks, roads, and streetlights. Thirty-
     eight percent of residents rated their sidewalks as
     either “poor” or “failing,” and over 42% said their
     neighborhood streets and roads were “poor” or
     “failing.” Residents are also unsure if enough has
     been done to make Houston more resilient to future
     storms. A slight majority thinks the city has become
     more resilient, but more than 4 in 10 do not.




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Introduction



I
   n November 2023, the city of Houston will vote                   A city benefits when the mayor serves all residents, not
   to elect its 63rd mayor. As the fourth-most-popu-                just those who get them elected. To aid in elevating the
lous city in the United States and third-largest city in            perspectives of all Houstonians, the findings detailed in
the country covering 640 square miles, it is home to                this study are based on data gathered from individuals
over 2.3 million residents. Houston is also home to                 and neighborhoods all over the city — not just registered
a “strong-mayor” system of local government, which                  voters or those likely to vote in November. This report
places significant power and authority in the hands of              amplifies the city’s challenges, opportunities and aspi-
its mayor. Houston’s mayor is the city’s chief executive            rations, and what all residents would like to see done by
with the authority to appoint and dismiss department                the next mayor.
heads, establish rules and regulations for the city’s de-
partments, and set city council meeting agendas. Given
its strong-mayor system, Houston’s mayor is uniquely
positioned to directly and immediately address the
most pressing concerns of the city’s residents.




                                                                                                                                  Photo by Thaddious Thomas on Unsplash




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About this study                                                         Statistical tests were used to help establish the presence
                                                                         or absence of relationships and associations across de-
The data used for this report were collected from over
                                                                         mographic and economic traits, survey items, and geog-
2,000 residents across the city of Houston — includ-
                                                                         raphies. Effect sizes were calculated for any association
ing its full and limited service areas — from April to
                                                                         that was statistically significant in order to determine
June 2023 using a brief 10- to 15-minute online sur-
                                                                         if a finding was substantively meaningful. Detailed re-
vey. Residents were chosen using an address-based
                                                                         sults of these statistical tests are available upon request.
sampling technique to create a sample representative
                                                                         Findings discussed in the body of the report, and pre-
of Houston. Addresses were sampled from within
                                                                         sented in tables, figures, and graphs can be assumed to
Houston city limits, which includes areas subject to
                                                                         be statistically significant and have a medium or large
Limited Purpose Annexation (LPAs). Residents in LPAs
                                                                         effect size, unless otherwise noted. None of the relation-
do not pay property taxes to the city of Houston, but are
                                                                         ships or associations highlighted in this report should
subject to city ordinances, regulations and services, and
                                                                         be interpreted as causal.
are eligible to vote in municipal elections.1 The purpose
of this research was to hear from all Houstonians who                    Responses were grouped into 11 regions for geographic
could be impacted by policies and decisions made by                      analysis. Each region was created to consist of between
the city’s next mayor, regardless of whether or not they                 100 and 300 respondents by combining Census block
intended to or could vote in the upcoming election.                      groups based on their proximity to one another and
                                                                         the shared traits of who lived in each area (Table 1).
The survey was made available in four languages:
                                                                         Boundaries between regions were determined by major
English, Spanish, Simplified Chinese and Vietnamese.
                                                                         roadways, waterways, or Census block group boundaries.
Respondents received a $15 electronic gift card upon
                                                                         This study was conducted in partnership with Houston
completion of the survey. To improve the representa-
                                                                         Landing, a nonpartisan and nonprofit news organiza-
tiveness of the data, sampling weights were developed
                                                                         tion. It provided input on survey topics but did not par-
to adjust for the age, education level, race/ethnicity and
                                                                         ticipate in the analysis or development of this report.
sex of the respondent. All results included in this report
are weighted.

The demographic composition of the final, weighted
sample closely mirrored the make-up of the city of
Houston. For race and ethnicity, the sample consisted
of about 7% Asian residents, 42% Hispanic residents,
19% Black residents, and 30% White residents. The re-
maining 2% identified as an other race/ethnicity. Survey
respondents had to be 18 years old or older, and the
median age in the sample was 40 years old, with about
a quarter of the sample under 30 years old and a little
more than a quarter of the sample 55 years old or older.
Nearly one-third of the sample had a bachelor’s degree
or above as their highest level of education, while 42%
of the sample had attained up to a high school diplo-
ma. Around 40% of the sample were homeowners, and
almost half of the sample had lived in Houston for 20
years or longer. Nearly one-quarter had lived in the city
for five years or less.




1    Limited Purpose Annexation. 2 Tex. Local Gov. Code § 43.130
     (1989, rev. 2003) https://statutes.capitol.texas.gov/Docs/LG/htm/
     LG.43.htm


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TABLE          1             Number of respondents per region in the city of Houston

                                                                       Region                                                                                                                                      Number of respondents

 A      Humble and Kingwood                                                                                                                                                                                                             116

  B     I-10 & 99 and Far Northwest                                                                                                                                                                                                     237

  C     Spring Branch, Fairbanks, and Greater Inwood                                                                                                                                                                                    111

  D     Northshore, Settegast, and East Little York                                                                                                                                                                                     193

  E     Uptown and Memorial                                                                                                                                                                                                             162

  F     The Heights, River Oaks, and Washington Avenue                                                                                                                                                                                  182

  G     Greater Third Ward, Magnolia Park, and Greater Fifth Ward                                                                                                                                                                       271

 H      Sharpstown, Chinatown, and Alief                                                                                                                                                                                                193

  I     West University and Museum District                                                                                                                                                                                             181

  J     Meyerland and Brays Oaks                                                                                                                                                                                                        226

  K     Greater Hobby Area and Clear Lake City                                                                                                                                                                                          159



                                         249                                                    45                99                                                         69
                                                                                                                                                                                                                                                               99




                               99
                                                                                                                                                                                  A

         290




                                                                                                                                                                                                                                                               90



                                                                                                                                       8
                                                                       249
                                                                  8


                                                                                                                                                                                            8




                        99
                                                                      290



                                                                                       C
                                                                                                                                                                    D
                                                                                                                                                                                                 90

                                               6



                                         B
                                                                                                                                                                                                                                                                10


                                                                                                                                                                                                               8




        10                                                8                                                 F        10




                                                          E                                     610
                                                                                                                                  45
                                                                                                                                                G                      610



                                                                                                                       69
                   99
                                                                                                                                                                                                                   225

                                                                                                                 I                         90


                                                         H                                                                                                                                                          8

                                                                                                                              288



                                                              8


                                                                                             J
                               99
                                                                                                                                                                                                                                                               146


                                                                                                                                                                                  K
                                                                                                                                                                                                  3


                                                                             90
                                                   6                                                                                                                                              8

                                                                                            8                                                               8



                              90

                                                                                  11
                                                                                                                                                                                                                                                  1




                                                                                                                                                                                                                                                               96
         69




                                    99                                                                               6      288                                                       35                                                              99   3
                                                                                                                                                                                                                                             45




          A - Humble and Kingwood                                                 Baylor University, City of Houston, HPB, Texas Parks & Wildlife, CONANP, Esri, HERE, Garmin, Foursquare, SafeGraph, FAO, METI/NASA, USGS, EPA, NPS, Esri, NASA, NGA, USGS



          B - I-10 and 99 and Far Northwest
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          C - Spring Branch, Fairbanks, and Greater Inwood
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Conditions and Concerns
of Houston Residents


T
      o set the backdrop for the upcoming mayoral                         The high level of concern for these four issues was
      election, the survey asked Houstonians to provide                   shared by Asian, Black, Hispanic and White residents
information on their concerns, neighborhood condi-                        alike, as well as individuals across all education levels.
tions and circumstances, as well their experiences with                   Old and young Houstonians also shared similar levels
city services. Similar concerns were held by residents                    of concern about affordable housing and traffic conges-
and regions throughout the city, but some populations                     tion, but there were slight differences in their reported
and regions faced distinct challenges.                                    concern about crime and safety and homelessness.

                                                                          The vast majority of all age groups were either “con-
Concerns
                                                                          cerned” or “very concerned” with crime and safety;
City residents were asked how concerned they were                         however, about 78% of young adults answered that
about the following: climate change and its environ-                      way compared to 86% of adults aged 30 to 54 years
mental impacts, extreme weather, crime and safety,                        old and 93% of older adults aged 55 and above. Older
the cost of housing, the availability of well-paying jobs,                adults were also more likely to express concern about
traffic congestion, and homelessness. Over 80% of                         homelessness, with about 93% reporting that they were
Houston residents reported being either “concerned” or                    either “concerned” or “very concerned,” compared to
“very concerned” about crime and safety, homelessness,                    78% of young adults and 85% of adults aged 30 to 54
traffic congestion and the cost of housing (Figure 1).                    years old.



FIGURE      1      Over 80% of Houston residents reported being concerned or very concerned with
                   crime and safety, homelessness, traffic congestion, and the cost of housing in the city.

                          Crime and safety                                                                                           86%


                            Homelessness                                                                                            85%


                        Traffic congestion                                                                                          85%


                           Cost of housing                                                                                          84%


                         Extreme weather                                                                               74%


Climate change and environmental impacts                                                                              73%


            Availability of well-paying jobs                                                                         72%


                                               0%          20%                 40%                 60%                     80%                   100%
                                                                 Percentage of residents "concerned" or "very concerned"




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Concern about crime and safety also differed slightly                   The Uptown and Memorial region had the fewest
across regions of the city. About 76% of residents in                   residents expressing concern about climate change
both The Heights, River Oaks and Washington Avenue                      with 63%. In every other region of the city, more than
region and in the Interstate 10 and State Highway 99                    two-thirds of residents expressed being “concerned” or
and Far Northwest region reported being “concerned”                     “very concerned” about climate change and its environ-
or “very concerned” with crime, while 89% of residents                  mental impacts.
in the Uptown and Memorial region; the Spring Branch,
                                                                        Concern about the availability of well-paying jobs
Fairbanks and Greater Inwood region; and the Humble
                                                                        differed by race and ethnicity as well as education level.
and Kingwood region reported the same. These slight
                                                                        Nearly 80% of Asian, Black and Hispanic residents re-
differences do not diminish the shared concern of resi-
                                                                        ported being “concerned” or “very concerned” with the
dents about crime and safety from across the city.
                                                                        availability of well-paying jobs, compared to less than
In addition to the top concerns, more than 70% of Houston               60% of White residents. Additionally, a higher percent-
residents reported being “concerned” or “very concerned”                age of residents who had completed up to a high school
about extreme weather, climate change and its environ-                  diploma (79%) or some college education (78%) were
mental impacts, and the availability of well-paying jobs.2              “concerned” or “very concerned” about the availabil-
                                                                        ity of high-paying jobs, compared to 59% of residents
Concern about extreme weather was relatively static
                                                                        with a Bachelor’s degree or above. Concern about the
across groups and regions in the city. Any differences by
                                                                        availability of well-paying jobs also differed by region
race and ethnicity, education level, age, and geography
                                                                        of the city, with some of the highest levels of concern
were slight, and were either not significant or did not
                                                                        in the Sharpstown, Chinatown, and Alief region (81%
meaningfully change the main takeaway that 7 in 10
                                                                        of residents) and Interstate 10 and State Highway 99
Houston residents were concerned about extreme weather.
                                                                        and Far Northwest region (80% of residents), compared
Concern about climate change and its environmen-                        to about 59% of residents in the West University and
tal impacts varied across race and ethnicity as well as                 Museum District region and about 53% in The Heights,
region. Across all race and ethnic groups, more than                    River Oaks and Washington Avenue region.
two-thirds of Houston residents were concerned with
climate change: 80% of Hispanic residents, 71% of                       City Services
Asian residents, 71% of Black residents and 67% of
                                                                        As Mayor Sylvester Turner finishes his second 4-year
White residents reported being “concerned” or “very
                                                                        term in office, about 14% of Houstonians rated his over-
concerned” with climate change.
                                                                        all job performance as “excellent,” about 37% rated it as
The Northshore, Settegast and East Little York region                   “good,” and 35% gave it an “average” rating. In rating
had the highest level of concern about climate change,                  the local government overall in providing services to its
with 84% of residents “concerned” or “very concerned,”                  residents, about 9% of Houstonians rated it “excellent,”
followed by the Greater Third Ward, Magnolia Park,                      32% rated it “good” and 41% rated it “average.”
and Greater Fifth Ward region, where over 80% of
                                                                        Houston residents were asked to rate on a scale of 1 to 5
residents reported being concerned. Buffalo Bayou and
                                                                        (1 = failing and 5 = excellent) how well they felt the city
Brays Bayou run through both of these regions, with the
                                                                        was doing at providing certain services: water, sewage,
Northshore, Settegast and East Little York region also
                                                                        trash pickup, recycling pickup, fire department and
being home to Greens Bayou, one of the leading loca-
                                                                        the police (Table 2). Around 20% of Houstonians gave
tions of flooded homes during Hurricane Harvey.
                                                                        an “excellent” rating to water, sewer and trash pickup,
                                                                        while 13% of city residents rated them as either “poor”
2   Respondents were not provided a definition of “well-paying jobs.”
    The United Way of Greater Houston sets as the “survival budget”
                                                                        or “failing.” Twenty percent of residents also rated the
    for families in Harris County an annual income between $59,800      police as “excellent”; however, 17% rated the police as
    and $63,200 (https://uwghcontent.blob.core.windows.net/$web/        “poor” or “failing.”
    pdf/23-UW-ALICE-Harris%20County%20data%20sheet.pdf).
    The City of Houston Housing and Development Department              Further exploring the views of residents who rated the
    has outlined the current Area Median Income (AMI) limits for
    80% and 120% AMI as $49,600 to $74,400 for a one-person
                                                                        police as “poor” or “failing” revealed relatively few
    household (https://houstontx.gov/housing/flyers/ami/2022/AMI-       differences across groups or across regions in the city.
    22-Final-061522.pdf). These ranges provide context for the type     A resident’s rating of the police was largely unrelated to
    of earning Houston residents may consider “well-paying.”


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TABLE       2        Most city services were rated as “excellent” by about 20% of Houston residents,
                     but most services were also rated as “poor” or “failing” by 12%–18%.

                How well is the city of Houston providing…                        Percentage of residents answering …

                                                                    Excellent      Good         Average             Poor            Failing
                                                   Mean score
                                                                       (5)          (4)           (3)                (2)              (1)
  Water                                                 3.7           21%           40%           26%               10%               2%

  Sewer                                                 3.6           18%           39%           29%               11%               2%

  Trash pickup                                          3.6           19%           39%           29%               10%               3%

  Recycling pickup                                      3.2           14%           29%           29%               17%              11%

  Fire department services                              4.1           37%           43%           18%                2%               0%

  Police services                                       3.5           20%           32%            31%              13%               5%




their race or ethnicity, education level, or age, and was          (37%); The Heights, River Oaks and Washington Avenue
not related to where they lived in the city.                       region (34%); and the Greater Hobby Area and Clear
                                                                   Lake City region (34%). In all other regions, over 20%
Residents had the most favorable views of the fire depart-
                                                                   of residents rated recycling pickup as “poor or failing.”
ment: 37% of Houston residents rated it as “excellent,”
only 2% rated it as “poor,” and no one rated it as failing.
                                                                   Public Spaces and Resources
The city service rated the lowest by residents was
                                                                   Houston residents were asked to rate on a scale of 1 to
recycling pickup: 14% rated it as “excellent,” but 28%
                                                                   5 (1 = failing and 5 = excellent) the condition of their
rated it as either “poor” or “failing.” Attitudes toward
                                                                   neighborhood’s roads, sidewalks, streetlights, parks
the city’s recycling pickup were similar across race,
                                                                   and libraries (Table 3). Residents gave the highest
ethnicity and age groups, but it did vary slightly by
                                                                   ratings to public libraries, though public libraries were
education level: As education level went up, so too did
                                                                   also the resource that residents most commonly said
the percentage of people rating this particular service
                                                                   was not available in their neighborhood. In fact, 1 in
as “poor” or “failing.”
                                                                   10 Houston residents said their neighborhood did not
Attitudes about recycling pickup also varied slightly              have a public library. Of those residents with a public
across regions of the city. Three regions had more than            library nearby, 18% rated it as “excellent,” 35% rated it
one-third of their residents rate recycling as “poor” or           as “good” and 31% rated it as “average,” meaning 17%
“failing”: the West University and Museum District region          rated it as “poor” or “failing.”



TABLE       3        Residents tended to give higher ratings to public libraries and parks and greenspace,
                     but many see the conditions of their streets and roads as well as sidewalks as either
                     “poor” or “failing.”

                                                                            Of residents who do have, percentage rating it as…

                                               % who do not have    Excellent      Good         Average             Poor            Failing

  Public libraries                                     13%            18%           35%            31%              13%               4%

  Parks and greenspace                                  3%            17%           32%           29%               16%               6%

  Streetlights                                         <1%            10%           30%           36%               18%               6%

  Sidewalks                                             4%             8%           23%            31%              25%              13%

  Streets and roads                                    <1%             8%           20%           29%               27%              15%




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TABLE          4      The quality and condition of neighborhood parks varied by region, with as many as
                      1 in 3 residents in some neighborhoods rating them as “poor” or “failing.”

                                                                                              Of residents who do have, percentage rating …

                                                         % who do not have        Excellent        Good        Average         Poor           Failing

  West University and Museum District                               3%              22%            30%           24%           16%             8%

  Greater Third Ward, Magnolia Park,
                                                                    3%               16%            24%          38%           14%             7%
  Greater Fifth Ward

  The Heights, River Oaks, and Washington Avenue                    2%               21%            47%          24%            8%             1%

  Uptown and Memorial                                               4%              29%             36%          24%            7%             4%

  Sharpstown, Chinatown, Alief                                      1%               17%           38%           25%           14%             5%

  Meyerland and Brays Oaks                                          2%              12%             27%          34%           19%             8%

  Greater Hobby Area and Clear Lake City                            5%              13%            29%           29%           22%             6%

  Northshore, Settegast, and East Little York                       8%                9%            24%          36%           23%             9%

  Spring Branch, Fairbanks, and Greater Inwood                      2%               11%           34%           21%           26%             8%

  I-10 & 99 and Far Northwest                                       2%              20%             45%          22%            8%             6%

  Humble and Kingwood                                               1%               16%            27%          32%           17%             8%




The next-highest-rated public resource was parks                                 Streetlights were available in nearly all residents’
and greenspace (Table 4). Three percent of residents                             neighborhoods — less than 1% reported not having
reported not having any parks or greenspace within                               them — and while 10% of residents with streetlights
their surrounding neighborhood, though this differed                             rated them as “excellent,” around 23% reported theirs
by where the resident lived. Nearly 8% of residents in                           were either “poor” or “failing” (Table 5). Differences
the Northshore, Settegast and East Little York region                            in the perceived adequacy of streetlights were ob-
reported not having any parks or greenspace, compared                            served across the city. In The Heights, River Oaks, and
to 1% of residents in the Sharpstown, Chinatown and                              Washington Avenue region, about 15% of residents
Alief region and the Humble and Kingwood region. For                             rated their streetlights as “poor” or “failing,” and 15%
residents who did have parks and greenspace near-                                of residents in the I-10 and State Highway 99 and Far
by, 17% rated them as “excellent,” 32% rated them                                Northwest region said the same. In contrast, 31% of
as “good” and 29% rated them as “average.” Still, the                            residents in the Humble and Kingwood region — nearly
remaining 23%, or about 1 in 4 Houstonians rated their                           1 in 3 members of that community — rated their street-
neighborhood’s parks and greenspace as either “poor”                             lights as “poor” or “failing.” In all other regions, be-
or “failing.” The percentage of residents rating their                           tween 19% and 28% of residents rated their streetlights
parks and greenspace as “poor” or “failing” differed                             as “poor” or “failing,” highlighting a need to address
by where they lived. Only 14% of residents in the I-10                           street lighting across the entire city.
and State Highway 99 and Far Northwest region; 9% of
                                                                                 Four percent of Houstonians said they did not have
residents in The Heights, River Oaks and Washington
                                                                                 sidewalks in their neighborhood, and of those who did,
Avenue region; and 11% of residents in the Uptown and
                                                                                 only 8% said they were “excellent” (Table 6). In con-
Memorial region rated their neighborhood parks and
                                                                                 trast, 38% of residents rated the quality of their side-
greenspace as “poor” or “failing.” In comparison, about
                                                                                 walks as either “poor” or “failing.” Almost half of the
one-third of residents in the Northshore, Settegast
                                                                                 residents in the West University and Museum District
and East Little York region and the Spring Branch,
                                                                                 region rated their sidewalks as “poor” or “failing” — the
Fairbanks and Greater Inwood region rated their parks
                                                                                 highest of any region in the city. The region with the
and greenspace as “poor” or “failing.”
                                                                                 lowest percentage of residents rating their sidewalks as
                                                                                 “poor” or “failing” was the I-10 and State Highway 99


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TABLE       5      Neighborhoods’ ratings of their streetlights (if they have them) vary by region, with
                   more than 1 in 4 in some neighborhoods rating them as “poor” or “failing.”

                                                                                 Of residents who do have, percentage rating …

                                                % who do not have    Excellent        Good        Average             Poor            Failing

  West University and Museum District                     <1%           4%             35%          36%               20%               6%

  Greater Third Ward, Magnolia Park,
                                                           1%          11%             21%          40%              22%                6%
  Greater Fifth Ward

  The Heights, River Oaks, and Washington Avenue          <1%           4%            38%           43%              12%                3%

  Uptown and Memorial                                     <1%          14%            30%           33%               17%               5%

  Sharpstown, Chinatown, Alief                            <1%           8%            32%           34%               21%               5%

  Meyerland and Brays Oaks                                 1%          14%            30%           37%               11%               8%

  Greater Hobby Area and Clear Lake City                   1%           6%             27%          39%               21%               6%

  Northshore, Settegast, and East Little York             <1%          12%            20%           46%               19%               4%

  Spring Branch, Fairbanks, and Greater Inwood            <1%           8%             35%          33%               18%               5%

  I-10 & 99 and Far Northwest                              1%          11%            44%           28%               11%               5%

  Humble and Kingwood                                      1%          15%             24%          30%               21%              10%




TABLE       6      On average, about 40% of residents across all regions of the city rated their sidewalks
                   (if they have them) as “poor” or “failing.”

                                                                                 Of residents who do have, percentage rating…

                                                % who do not have    Excellent        Good        Average             Poor            Failing

  West University and Museum District                     <1%           3%             25%          23%               31%              18%

  Greater Third Ward, Magnolia Park, and
                                                           2%           6%             16%          35%               24%              19%
  Greater Fifth Ward

  The Heights, River Oaks, and Washington Avenue           1%           4%             26%          29%              30%               12%

  Uptown and Memorial                                      5%          10%             26%           31%              20%              14%

  Sharpstown, Chinatown, Alief                             1%           4%            22%            31%              27%              16%

  Meyerland and Brays Oaks                                 6%          11%             25%          32%               21%              11%

  Greater Hobby Area and Clear Lake City                   3%           4%            23%           28%              30%               16%

  Northshore, Settegast, and East Little York              6%          14%             17%          30%              30%                8%

  Spring Branch, Fairbanks, and Greater Inwood             5%           7%             26%           31%             23%               13%

  I-10 & 99 and Far Northwest                              2%          13%             36%          28%               13%               9%

  Humble and Kingwood                                      5%          13%             14%          39%               27%               7%




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TABLE          7      Over 40% of residents in most regions of the city rated their streets and roads as
                      “poor” or “failing.”

                                                                                              Of residents who do have, percentage rating …

                                                         % who do not have        Excellent        Good        Average         Poor           Failing

  West University and Museum District                              <1%                3%            16%          23%           40%            18%

  Greater Third Ward, Magnolia Park,
                                                                   <1%                5%            14%          35%           30%            17%
  Greater Fifth Ward

  The Heights, River Oaks, and Washington Avenue                   <1%                5%            26%          26%           31%            13%

  Uptown and Memorial                                              <1%              12%            23%           26%           23%            16%

  Sharpstown, Chinatown, Alief                                     <1%                7%            18%          30%           23%             21%

  Meyerland and Brays Oaks                                         <1%               11%            15%          34%           23%            17%

  Greater Hobby Area and Clear Lake City                           <1%                5%           20%           30%           32%            13%

  Northshore, Settegast, and East Little York                      <1%                9%            18%          28%           29%            16%

  Spring Branch, Fairbanks, and Greater Inwood                     <1%                7%           23%           32%           24%            14%

  I-10 & 99 and Far Northwest                                      <1%               16%           34%           26%           17%              7%

  Humble and Kingwood                                               1%                9%            13%          31%           33%            14%




and Far Northwest region at 23%. That’s still nearly 1                           On average, Houston residents scored a 3.0 about feel-
in 4 residents rating their sidewalks as “poor” or “fail-                        ing safe walking around their neighborhood during the
ing,” underscoring the widespread need for pedestrian                            day — indicating a general feeling of safety (Figure 2).
infrastructure improvements around the city.                                     Average scores differed by race and ethnicity, educa-
                                                                                 tion level and the region of the city where the resident
Finally, over 42% of Houston residents rated the
                                                                                 lived. White residents had a higher average score (3.2)
streets and roads in their neighborhood as “poor” or
                                                                                 than Asian, Black and Hispanic respondents, all of
“failing” (Table 7). At least one-quarter of respondents
                                                                                 whom had an average score of 2.9. Residents with a
from each region around the city gave their streets and
                                                                                 Bachelor’s degree or higher had a higher average score
roads these low marks, but in the West University and
                                                                                 (3.2) than residents with up to a high school diploma or
Museum District region, almost 60% of residents rated
                                                                                 some college experience (both of whom had an average
their roads as “poor” or “failing.” In contrast, only 24%
                                                                                 score of 2.9).
of residents in the I-10 and State Highway 99 and Far
Northwest region rated theirs as such. For all the other                         Average scores for feeling safe during the day also
regions around the city, between 38% and 47% of resi-                            varied across the city, with some of the highest average
dents rated their streets and roads as “poor” or “failing.”                      scores in The Heights, River Oaks and Washington
                                                                                 Avenue region (3.5) and the Uptown and Memorial re-
Crime and Safety                                                                 gion (3.3), compared to the average score for residents
                                                                                 in the Northshore, Settegast and East Little York region
The most commonly reported “biggest problem” facing
                                                                                 (2.6) and the Humble and Kingwood region (2.7).
the Houston area according to responses on the 2023
Kinder Houston Area Survey was crime and safety, and                             When residents were asked how safe they feel walk-
in the current study, more residents reported being “con-                        ing around their neighborhood at night, on average,
cerned” or “very concerned” with crime and safety than                           Houston residents scored a 2.3, meaning Houstonians
any other issue. To better understand some of the ways                           typically do not feel safe walking around their neighbor-
in which crime and safety manifests itself in Houston,                           hood at night (Figure 2). White residents had the high-
residents were asked to reflect on their perceptions and                         est average score of 2.5, and Hispanic residents had the
experiences in their neighborhoods and the city using a                          lowest average score at 2.2. Additionally, the average
scale of 1 to 4 (1 = strongly disagree, 4 = strongly agree).                     score of respondents with a Bachelor’s degree or more

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                                                                                                                                              Photo by Jeswin Thomas on Unsplash
(2.5) indicated those residents felt safer walking around       In an attempt to understand how residents felt about
at night in their neighborhoods than residents with a           the safety of their neighborhood regardless of time of
high school diploma (2.3) or some college (2.2).                day, they were asked to indicate if they agreed or dis-
                                                                agreed that their neighborhood was a safe place to live.
The region of the city where the resident lived also
                                                                Sixty-nine percent of Houstonians agreed their neigh-
shaped their response to feeling safe walking around
                                                                borhood was safe, leaving over 30%, almost 1 in 3, who
at night. Residents in The Heights, River Oaks and
                                                                did not. Perceptions of neighborhood safety differed by
Washington Avenue region (2.7) and the Uptown and
                                                                race and ethnicity, education level, and region (Figure
Memorial region (2.6) had the highest average scores,
                                                                4). More specifically, 77% of Asian residents and 75%
while residents in the Northshore, Settegast, and East
                                                                of White residents reported that their neighborhood
Little York region (1.9) had the lowest average score.
                                                                was a safe place to live, while only 59% of Black resi-
For all groups of people across all regions of the city,        dents and 68% of Hispanic residents said the same. As
residents reported lower average feelings of safety             for differences by education level, 80% of residents with
during the night than during the day. In fact, 58% of all       a Bachelor’s degree or more felt like they lived in a safe
residents scored walking around their neighborhood              neighborhood compared to 63% of residents with up to
at night as less safe than walking around their neigh-          a high school diploma and 62% of residents with some
borhood during the day. At least half of residents in           college experience.
all regions felt like their neighborhood was less safe at
                                                                Residents from around the city have very different
night than during the day, and in some regions around
                                                                impressions of how safe their neighborhood is based
the city about 7 in 10 Houstonians reported feeling less
                                                                on where they are living. The Heights, River Oaks
safe at night. More specifically, about 50% of residents
                                                                and Washington Avenue region and the Uptown and
in the Meyerland and Brays Oaks region reported
                                                                Memorial region each had 9 out of 10 residents agree-
feeling less safe at night, while 70% of residents in the
                                                                ing the neighborhood was safe, the highest levels of
West University and Museum District region and in The
                                                                agreement among all regions. These regions can be
Heights, River Oaks and Washington Avenue region
                                                                contrasted with Humble and Kingwood, where 47% of
reported the same (Figure 3). This transformation of
                                                                residents agreed their neighborhood was safe, and in the
neighborhoods from day to night may be a key source of
                                                                Northshore, Settegast and East Little York region, where
the concern and unease residents feel about crime and
                                                                50% of residents agreed their neighborhood was safe.
safety in the city.


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FIGURE         2    Houston residents felt their neighborhood was safer to walk around during the day
                    than at night and safer than the city as a whole.

                                                                    1 = Strongly disagree, 2 = Disagree, 3 = Agree, 4 = Strongly agree
                                                                                              Average score
                                        1.0                   1.5                 2.0                   2.5              3.0                     3.5           4.0



Safe to walk around during the day                                                                                             3.0




        Safe to walk around at night                                                              2.3




         Live in a safe neighborhood                                                                              2.7




               Houston is a safe city                                                                     2.5




FIGURE         3       A majority of Houston residents felt their neighborhood was less safe at night than it
                       was during the day across all regions of the city.


                                     Humble and Kingwood                                                                                   57%



                               I-10 & 99 and Far Northwest                                                                           53%



           Spring Branch, Fairbanks, and Greater Inwood                                                                                          62%



              Northshore, Settegast, and East Little York                                                                            53%



                   Greater Hobby Area and Clear Lake City                                                                            54%



                                Meyerland and Brays Oaks                                                                         50%



                             Sharpstown, Chinatown, Alief                                                                                    60%



                                     Uptown and Memorial                                                                               56%



          The Heights, River Oaks, and Washington Ave.                                                                                                   70%



Greater Third Ward, Magnolia Park, Greater Fifth Ward                                                                                            61%



                    West University and Museum District                                                                                                  70%


                                                               0%           10%         20%        30%          40%        50%             60%         70%     80%

                                                                    Percentage of residents scoring their neighborhood as less safe at night than during the day




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FIGURE       4       The percentage of residents who felt their neighborhood was a safe place to live varied
                     by race and ethnicity, education level, and region of the city where a resident lived.

                                                                    0%         10%     20%     30%            40%         50%       60%       70%        80%      90%     100%

                                                          Overall                                                                                  69%



Race and ethnicity                                         Asian                                                                                          77%

                                                           Black                                                                        59%

                                                       Hispanic                                                                                    68%

                                                          White                                                                                          75%



Education level                            High school diploma                                                                               63%

                                                  Some college                                                                               62%

                                     Bachelor's degree or more                                                                                              80%



Region                    West University and Museum District                                                                                            76%

         Greater Third Ward, Magnolia Park, Greater Fifth Ward                                                                          58%

                  The Heights, River Oaks, and Washington Ave.                                                                                                          91%

                                         Uptown and Memorial                                                                                                          90%

                                  Sharpstown, Chinatown, Alief                                                                              61%

                                     Meyerland and Brays Oaks                                                                                      68%

                        Greater Hobby Area and Clear Lake City                                                                                      71%

                     Northshore, Settegast, and East Little York                                                                50%

                   Spring Branch, Fairbanks, and Greater Inwood                                                                                   66%

                                   I-10 & 99 and Far Northwest                                                                                            77%

                                         Humble and Kingwood                                                                47%




FIGURE       5       On average, Houstonians report they “sometimes” feel unsafe in their day-to-day lives.

                                                                               0 = Never, 1 = Rarely, 2 = Sometimes, 3 = Often, 4 = Almost always

                                                          0.0            0.5          1.0         1.5                2.0              2.5          3.0          3.5           4.0

                                                Overall                                                             1.8



                  West University and Museum District                                                               1.8

Greater Third Ward, Magnolia Park, Greater Fifth Ward                                                                 1.9

         The Heights, River Oaks, and Washington Ave.                                                   1.5

                                 Uptown and Memorial                                                          1.7

                          Sharpstown, Chinatown, Alief                                                                    2.0

                             Meyerland and Brays Oaks                                                                 1.9

                 Greater Hobby Area and Clear Lake City                                                               1.9

            Northshore, Settegast, and East Little York                                                                     2.1

          Spring Branch, Fairbanks, and Greater Inwood                                                         1.7

                            I-10 & 99 and Far Northwest                                                         1.8

                                 Humble and Kingwood                                                                  1.9




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Residents were also asked if they felt the city of Houston           Environmental Threats and Climate Change
was a safe place to live: Only half did.
                                                                     Nearly 60% of Houston residents selected flooding as
In addition to residents’ perceptions of safety in their             one of the top environmental issues facing their neigh-
neighborhoods and the city, they were also asked how                 borhood (Figure 6). Flooding was the most commonly se-
often they feel unsafe in their day-to-day lives: never,             lected response, followed by heat (48%) and pests (38%).
rarely, sometimes, often or almost always. For this mea-
                                                                     Outdoor air quality was selected as one of the top
sure, a higher score corresponds to feeling unsafe more
                                                                     environmental issues facing a neighborhood by about
often. On average, residents scored a 1.8, which corre-
                                                                     one-third of residents, though this varied by race and
sponded most closely with a response of “sometimes”
                                                                     ethnicity, education level and age. Specifically, about
feeling unsafe (Figure 5). Differences in how often res-
                                                                     46% of White residents selected outdoor air quality as
idents felt unsafe were small across race and ethnicity,
                                                                     a top environmental issue facing their neighborhood,
education levels and age of residents. Differences by re-
                                                                     compared to 28% of Asian residents, 26% of Black
gion of the city were much larger, as 1 in 4 residents in
                                                                     residents and 26% of Hispanic residents. About 44%
the Northshore, Settegast and East Little York region,
                                                                     of residents with a Bachelor’s degree selected outdoor
the Sharpstown, Chinatown and Alief region, and the
                                                                     air quality as a top environmental issue facing their
Humble and Kingwood region reported feeling “often”
                                                                     community, compared to 31% of residents with some
or “almost always” unsafe in their day-to-day lives com-
                                                                     college experience and 24% of residents with up to a
pared to 1 in 10 residents in The Heights, River Oaks,
                                                                     high school diploma. Finally, more older adults (44%)
and Washington Avenue region.
                                                                     chose outdoor air quality as a top environmental issue
Understanding the reasons why residents felt unsafe                  facing their community than young adults (27%) and
requires additional study; however, widespread experi-               adults aged 30 to 54 years old (29%).
ences of feeling unsafe were reported across groups of
                                                                     Nearby pollution sources was selected as one of the top
people and areas of the city. In fact, only 6% of resi-
                                                                     environmental issues facing neighborhoods in the city
dents reported never feeling unsafe, meaning the vast
                                                                     by about one-third of Houston residents. Although this
majority of Houstonians — 94% — experience some
                                                                     varied slightly across groups, the differences were not
degree of feeling unsafe in their day-to-day lives.
                                                                     substantively meaningful.




                                                                                                                                      Photo by Nils Huenerfuerst on Unsplash




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FIGURE       6       Flooding, heat, and pests were the most commonly selected environmental concerns.

                                   Flooding                                                                                               57%


                                       Heat                                                                             48%


  Pests, such as roaches, rats, or bed bugs                                                         38%

  Nearby pollution sources like a highway,
                                                                                           32%
high-traffic area, refinery, or other factory

                        Outdoor air quality                                               32%


                             Water quality                                          28%


                            Illegal dumping                                      26%


          Access to parks and greenspace                                 20%

         Indoor air quality, including mold,
                                                                 11%
              lead paint, or dust exposure

                                                0%         10%         20%          30%             40%                 50%                 60%




Water quality was chosen by 28% of residents, illegal                   one of the top three environmental issues identified by
dumping was chosen by 26% of residents, and access to                   residents in the Uptown and Memorial region and the
parks and greenspace was chosen by 20% of residents                     Spring Branch, Fairbanks, and Greater Inwood region.
as one of the main environmental challenges facing                      In all other regions — the Sharpstown, Chinatown,
their neighborhood. Indoor air quality related to mold,                 Alief region; the Meyerland and Brays Oaks region; the
lead paint or dust exposure was the option chosen                       Northshore, Settegast, and East Little York region; the
least often by residents, but even still, about 1 in 10                 I-10 and State Highway 99 and Far Northwest region;
Houstonians selected it.                                                and the Humble and Kingwood region — residents iden-
                                                                        tified pests, such as roaches, rats, or bed bugs, as one of
Looking at the most commonly selected environmental is-
                                                                        their top three environmental issues.
sues facing neighborhoods in Houston, flood and heat ap-
peared among the top three choices of residents in all 11               The most commonly identified environmental issues
regions except one (Exhibit 1). The top three environmen-               facing residents in the Northshore, Settegast, and East
tal issues picked by residents in the Northshore, Settegast,            Little York region included one issue not identified
and East Little York region did not include heat — for                  in the top three of any other region: illegal dumping.
them, it was the fourth most common. Houstonians col-                   Flooding was the most commonly identified environ-
lectively recognize the threat posed to them, their neigh-              mental issue facing the neighborhood, but the second
borhood and the city by flooding and heat.                              most commonly selected issue was illegal dumping.
                                                                        Nearly 50% of residents in the Northshore, Settegast,
Beyond flooding and heat, the environmental issues
                                                                        and East Little York region picked illegal dumping as
most commonly identified in different regions of the city
                                                                        one of the biggest environmental issues facing their
varied between concerns with outdoor air quality, near-
                                                                        neighborhood. After the Northshore, Settegast, and
by pollution sources, water quality, and pests. Outdoor
                                                                        East Little York region, illegal dumping was most com-
air quality was one of the top three environmental
                                                                        monly identified in the Greater Third Ward, Magnolia
issues identified by residents in the West University and
                                                                        Park, and Greater Fifth Ward region and the Spring
Museum District region and The Heights, River Oaks,
                                                                        Branch, Fairbanks, and Greater Inwood region where
and Washington Avenue region. Nearby pollution sourc-
                                                                        about one-third of residents selected it.
es was one of the top three environmental issues identi-
fied by residents in the Greater Third Ward, Magnolia                   Nearby pollution sources was chosen by at least 20%
Park, Greater Fifth Ward region and the Greater Hobby                   of residents in all 11 regions, and was one of the top
Area and Clear Lake City region. Water quality was                      three environmental issues selected by residents in

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EXHIBIT          1       Flooding or heat was the most commonly selected environmental issue facing
                         neighborhoods in every region of the city.

    Region                                                    Most common issue       Second most common              Third most common

    West University and Museum District                       Flooding                Heat                            Outdoor air quality

    Greater Third Ward, Magnolia Park,                        Heat                    Nearby pollution sources like   Flooding
    Greater Fifth Ward                                                                a highway, high-traffic area,
                                                                                      refinery, or other factory

    The Heights, River Oaks, and                              Flooding                Outdoor air quality             Heat
    Washington Avenue

    Uptown and Memorial                                       Flooding                Heat                            Water quality

    Sharpstown, Chinatown, Alief                              Heat                    Pests, such as roaches, rats,   Flooding
                                                                                      or bed bugs

    Meyerland and Brays Oaks                                  Flooding                Pests, such as roaches, rats,   Heat
                                                                                      or bed bugs

    Greater Hobby Area and Clear Lake City                    Flooding                Heat                            Nearby pollution sources like
                                                                                                                      a highway, high-traffic area,
                                                                                                                      refinery, or other factory

    Northshore, Settegast,                                    Flooding                Illegal dumping                 Pests, such as roaches, rats,
    and East Little York                                                                                              or bed bugs

    Spring Branch, Fairbanks,                                 Flooding                Heat                            Water quality
    and Greater Inwood

    I-10 & 99 and Far Northwest                               Heat                    Pests, such as roaches, rats,   Flooding
                                                                                      or bed bugs

    Humble and Kingwood                                       Flooding                Heat                            Pests, such as roaches, rats,
                                                                                                                      or bed bugs




the Greater Third Ward, Magnolia Park, and Greater                                    Outdoor air quality was selected as a top environmen-
Fifth Ward region and the Greater Hobby Area and                                      tal issue by at least 15% of residents in all regions and
Clear Lake City region. Each of these regions is home                                 around 50% of residents in the West University and
to over 30 Toxics Release Inventory (TRI) facilities.                     3
                                                                                      Museum District region and The Heights, River Oaks,
Additionally, neighborhoods in the Greater Third                                      and Washington Avenue region. In those same two re-
Ward, Magnolia Park, Greater Fifth Ward region have                                   gions, more than 40% of residents also identified nearby
a history of environmental issues related to industrial                               pollution sources as a top concern, further pointing to a
activities, including from the Union Pacific railyard                     4
                                                                                      heightened concern with air quality by residents in these
that runs through them. Both of these regions are also                                areas. The source of this concern may have a different
the ones located nearest the Houston Ship Channel,                                    origin than the concern from the eastern regions of the
where a high concentration of heavy industrial activity                               city, because there are just four TRI facilities in the West
takes place.                                                                          University and Museum District region and three in The
                                                                                      Heights, River Oaks and Washington Avenue region.
                                                                                      Instead, both of these regions’ outdoor air quality con-
                                                                                      cerns may stem from being encircled by major highways,
3    Environmental Protection Agency. (2023). 2022 TRI Preliminary                    like I-610, I-10, I-59, I-45 and U.S. 288.
     Dataset: Basic Data Files. https://www.epa.gov/toxics-release-
     inventory-tri-program/2022-tri-preliminary-dataset-basic-data-files              Calling out specific regions of the city where residents
4    Lozano, J. A. (2023, July 13). Houston to spend millions to                      more commonly expressed concern with outdoor air
     relocate residents living near Polluted Union Pacific Rail Yard.                 quality and nearby pollution sources does not mean
     AP News. https://apnews.com/article/houston-relocates-residents-
     polluted-neighborhood-cancer-04adf611697ab3f5d0ef9dd
                                                                                      air quality in the rest of the city is fine. Houston does
     0e9070394                                                                        not have natural geological features, like hills or val-

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FIGURE      7      Toxics Release Inventory locations and regions identifying “nearby pollution
                   sources” as a top 3 concern
                                                      249                                          45            99                                  69                                          99




                                            99



                                                                                                                                                                                                                            90


                     290




                                                                                                                             8
                                                                                    249
                                                                              8


                                                                                                                                                                8




                                      99
                                                                              290


                                                                                                                                                                        90


                                                                                                                                                                                                                             10




                                                                                                                                                                             8

                                                            6
                                                                                                                      10

                                                                      8
                     10

                                                                                                    610                                        610
                                                                                                                                                                                                                                  99

                                 99                                                                         69                                                                                                  146
                                                                                                                                                                                 225



                                                                                                                 90                                                               8




                                                                          8




                                                                                                                                                                    8

                                                                                               8                                          8

                                                      90



                                                                                          11
                                                                                                                                                                                             1




                     69                                                                                                                                                                               96
                                                 99                                                     6              288                                35                                 3             99         146
                                                                                                                                                                                        45




                   Major environmental
                          TRI sites thatconcern of region
                                         reported   one or
                   • TRImore   releases
                        sites that       in one
                                   reported 2022or more releases in 2022
                            Air Quality
                          Outdoor Air Quality
                            Nearby
                          Nearby      Pollution
                                 Pollution      Sources
                                           Sources
                            Other
                          Other     Environmental
                                Environmental      Concern
                                              Concern                                                                            Source: Toxics Release Inventory/Environmental Protection Agency, 2022




FIGURE      8      While the majority of Houstonians feel the city is better prepared and will be more
                   resilient to future storms, about 4 in 10 do not.

                                                                                                                                                    Agree USGS,
                          Baylor University, City of Houston, HPB, Texas Parks & Wildlife, CONANP, Esri, HERE, Garmin, Foursquare, SafeGraph, FAO, METI/NASA, Disagree
                                                                                                                                                                EPA, NPS, Esri, NASA, NGA, USGS




                                  My home is safe from extreme weather events.                                                                                 58%                                                                     42%




As a community, we are prepared to recover from extreme weather events.                                                                                        60%                                                                     40%




                   Since Hurricane Harvey, the mayor and city of Houston
                                                                                                                                                               56%                                                                     44%
       have done enough to make Houston more resilient to future storms.




                                                                                                                      0%                      20%                                40%                   60%                              80%   100%




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                                                                                                                                      Photo by Alisa Matthews on Unsplash
leys, that significantly disrupt air flow across the city.           While these numbers offer evidence of a city feeling pre-
As such, residents are universally exposed to similar                pared, they also show uncertainty: 44% of residents do
quality air across the city, and that air contains more              not feel enough has been done to prepare the city for the
cancerous toxins than the air breathed in by 88% of the              next major storm, 40% do not feel their community is
rest of the country. Proximity to TRI facilities and ma-
                            5
                                                                     ready to recover, and 42% do not feel their home is safe.
jor highways may put air quality and nearby pollution
                                                                     Unpacking these numbers further to more fully under-
sources on the forefront of certain people’s thinking
                                                                     stand the uncertainty around preparedness for the next
more than others, but it alone does not determine nor
                                                                     extreme weather event, only 9% of respondents strongly
protect against exposure to the poorer air quality that
                                                                     agreed that the city has done enough to make Houston
plagues the entire Houston area.
                                                                     more resilient for future storms, and an equal propor-
Houston’s location along the Gulf Coast means the                    tion strongly disagreed with that claim. The other 82%
city is also not protected against major weather events,             of residents were split across the middle two categories
such as Hurricane Harvey in 2017 and Tropical Storm                  (i.e., “agree” and “disagree”). Similarly, only 12% of
Imelda in 2019. Following Hurricane Harvey, bil-                     residents said they strongly agreed and 9% said they
lions of dollars were spent in the city and surrounding              strongly disagreed that the community was prepared
counties to help families and communities recover from               to recover from extreme weather events. When asked
the storm, and make the area more resilient to future                about their own home, 10% strongly agreed it was safe
extreme weather and flooding. The billions in spending               from extreme weather events, and 8% strongly dis-
have resulted in the majority of Houston residents feel-             agreed. Having so few residents at the extremes and so
ing like the city has been made more resilient to future             many in the middle — 80% — suggests a city not divided
storms. Specifically, 56% feel enough has been done                  about its preparedness, but uncertain of it.
since Harvey to make the city more resilient to future
                                                                     Understanding why residents are uncertain about
storms, 60% feel that as a community the city is ready to
                                                                     the city’s preparedness for and ability to recover from
recover from extreme weather events, and 58% feel their
                                                                     future storms requires more data than was collected
home is safe from extreme weather events (Figure 8).
                                                                     as part of this study. The uncertainty could stem from
                                                                     residents wanting to see more action from the city to
5   City of Houston. (2023). One Complete Houston.                   improve drainage systems. It may also be indicative of
    https://houstontx.gov/onecompletehouston


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residents not knowing what progress has been made,              More Black residents (57%) and Hispanic residents
such that efforts to educate and inform the public about        (49%) than Asian residents (35%) and White residents
what’s been done could go a long way to addressing feel-        (35%) reported being worried about paying their bills
ings of uncertainty. Regardless of the reason why, the          “often” or “almost always” (Figure 10). This worry was
middling responses from many residents in Houston               also more commonly reported by residents with up to a
suggests a good deal of unease around this perennial            high school diploma (55%) or some college experience
threat faced by the city.                                       (54%) than residents with a Bachelor’s degree or more
                                                                (28%). Particularly relevant for the cost of housing,
Housing Costs and Gentrification                                homeownership status was also related to worry about
                                                                paying the bills: 33% of homeowners reported being
Nearly half of all Houston residents reported they
                                                                “often” or “almost always” worried, compared to 58% of
were “often” or “almost always” worried they wouldn’t
                                                                renters. Worry about paying the bills also varied across
be able to keep up with their bills (Figure 9). Another
                                                                the city, with only 27% of residents in The Heights,
quarter of residents said they were “sometimes” worried
                                                                River Oaks and Washington Avenue region indicating
about keeping up with their bills. Many residents also
                                                                they were “often” or “almost always” worried, com-
expressed worry about paying their mortgage or rent on
                                                                pared to 60% of residents in the Humble and Kingwood
time: Almost 40% reported they were “often” or “almost
                                                                region and 54% of residents in the Greater Third Ward,
always” worried about making the monthly payment
                                                                Magnolia Park and Greater Fifth Ward region.
that keeps a roof over their head. One-quarter were “of-
ten” or “almost always” worried they would have to move         Turning to residents’ worry about being able to pay for
because they couldn’t keep up with the mortgage or rent         their housing, similar patterns emerged by race and
payments. Fifteen percent reported they were “often” or         ethnicity and education level as were seen for worry
“almost always” worried about being evicted or fore-            about paying the bills. Age of resident, which had not
closed on. Many Houstonians are worried about hous-             been meaningfully related to worry about paying the
ing costs, and the general costs of making ends meet,           bills, was related to worry about paying for housing.
but this worry is not uniformly shared across the city.         About 40% of young adults and 43% of adults ages 30-
                                                                54 years old reported being “often” or “almost always”




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FIGURE         9      Nearly half of Houstonians report they often or almost always worry about keeping
                      up with their bills, and 1 in 6 are “often” or “almost always” worried they will face
                      eviction or foreclosure.


                           Worried about keeping up with your bills               29%                  25%                           46%




Worried about keeping up with your mortgage or rent payments                            44%                       19%                     38%
                                                                                                                                                               Never/
                                                                                                                                                               rarely

                                                                                                                                                               Sometimes
                    Worried about having to move because you
                                                                                              59%                             17%               23%
           cannot keep up with your mortgage or rent payments
                                                                                                                                                               Often/
                                                                                                                                                               almost always

   Worried about being foreclosed on or evicted from your home                                  71%                                   14%         15%



                                                                         0%          20%              40%               60%           80%               100%
                                                                                                    Percentage of residents




FIGURE        10      Nearly half of all Houstonians were “often” or “almost always” worried about being
                      able to pay their bills.
                                                                             0%   10%    20%        30%      40%        50%         60%     70%       80%      90%      100%

                                                                   Overall                                               45%


Race and ethnicity                                                  Asian                                    35%
                                                                     Black                                                           57%
                                                                  Hispanic                                                49%
                                                                    White                                     35%


Education level                                    High school diploma                                                              55%
                                                              Some college                                                      54%
                                             Bachelor's degree or more                                 28%


Homeownership                                                      Owner                                     33%
                                                                   Renter                                                            58%


Region                         West University and Museum District                                          33%
             Greater Third Ward, Magnolia Park, Greater Fifth Ward                                                              54%
                      The Heights, River Oaks, and Washington Ave.                                    27%
                                                 Uptown and Memorial                                          36%
                                         Sharpstown, Chinatown, Alief                                                          52%
                                            Meyerland and Brays Oaks                                                     46%
                             Greater Hobby Area and Clear Lake City                                                           50%
                          Northshore, Settegast, and East Little York                                                         49%
                       Spring Branch, Fairbanks, and Greater Inwood                                           36%
                                           I-10 & 99 and Far Northwest                                                         51%
                                                Humble and Kingwood                                                                   60%




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FIGURE      11       Almost 40% of Houstonians were worried about being able to pay for their housing.

                                                                       0%   10%     20%     30%         40%        50%        60%      70%      80%      90%      100%

                                                            Overall                                         38%


Race and ethnicity                                            Asian                                   32%
                                                              Black                                                 47%
                                                          Hispanic                                            41%
                                                             White                          25%


Education level                               High school diploma                                                   47%
                                                      Some college                                                43%
                                        Bachelor's degree or more                         21%


Age                                  Young adult (18-29 years old)                                            40%
                                           Adult (30-54 years old)                                                43%
                                 Older adult (55 years old or older)                            26%


Homeownership                                               Owner                         22%
                                                             Renter                                                       51%


Region                      West University and Museum District                                  28%
           Greater Third Ward, Magnolia Park, Greater Fifth Ward                                             40%
                     The Heights, River Oaks, and Washington Ave.                         22%
                                            Uptown and Memorial                                       31%
                                     Sharpstown, Chinatown, Alief                                                 44%
                                        Meyerland and Brays Oaks                                            36%
                           Greater Hobby Area and Clear Lake City                                           36%
                        Northshore, Settegast, and East Little York                                         37%
                     Spring Branch, Fairbanks, and Greater Inwood                                 31%
                                      I-10 & 99 and Far Northwest                                                       48%
                                            Humble and Kingwood                                                          50%




worried they would not be able to pay for their housing,                          paying for housing were The Heights, River Oaks
compared to 26% of older adults (Figure 11).                                      and Washington Avenue region (22%) and the West
                                                                                  University and Museum District region (28%). Similar
The only group with more than half reporting “often” or
                                                                                  to the renter-homeowner comparison, while there is a
“almost always” being worried about paying for housing
                                                                                  20-plus percentage point difference between regions of
was renters at about 51%, compared to 22% of home-
                                                                                  the city, even the “best” region still had 1 in 5 residents
owners. While this 30-percentage-point difference is
                                                                                  reporting that they were “often” or “almost always” con-
large, the overall number of worried homeowners still
                                                                                  cerned they wouldn’t be able to pay for their housing.
translates to 1 in 5.
                                                                                  While residents’ worry about being able to pay for
Worry about being able to pay for housing differed
                                                                                  their housing was a relatively frequent occurrence in
across regions of the city as well and closely followed
                                                                                  Houston, less often were residents worried they would
the pattern of worry about paying bills. Half of resi-
                                                                                  be evicted or foreclosed on; however, this is not to say it
dents in the Humble and Kingwood region said they
                                                                                  was a rare occurrence, particularly for certain groups in
were “often” or “almost always” worried about paying
                                                                                  the city. Nearly one-quarter of Black residents report-
for their housing, with similarly high levels of worry
                                                                                  ed that they worried “often” or “almost always” about
from residents in the I-10 and State Highway 99 and
                                                                                  being evicted or foreclosed on, compared to 16% of
Far Northwest region (48%) and the Sharpstown,
                                                                                  Hispanic residents, 8% of White residents and 7% of
Chinatown and Alief region (44%). Regions where
                                                                                  Asian residents (Figure 12). By education level, 21% of
the fewest residents reported being worried about
                                                                                  residents with up to a high school diploma and 17% of

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FIGURE      12       One-quarter of Black residents and one-quarter of renters in the city reported
                     “often” or “almost always” worrying about eviction or foreclosure.

                                                                          0%   10%        20%     30%       40%   50%    60%    70%     80%     90%    100%

                                                                Overall                 15%


Race and ethnicity                                               Asian          7%
                                                                  Black                           24%
                                                               Hispanic                   16%
                                                                 White          8%


Education level                                  High school diploma                            21%
                                                         Some college                       17%
                                           Bachelor's degree or more           6%


Homeownership                                                   Owner          4%
                                                                Renter                            24%


Region                       West University and Museum District               4%
           Greater Third Ward, Magnolia Park, Greater Fifth Ward                        15%
                    The Heights, River Oaks, and Washington Ave.                    10%
                                               Uptown and Memorial                  10%
                                       Sharpstown, Chinatown, Alief                         18%
                                          Meyerland and Brays Oaks                    12%
                           Greater Hobby Area and Clear Lake City                     12%
                        Northshore, Settegast, and East Little York                       16%
                     Spring Branch, Fairbanks, and Greater Inwood                      14%
                                         I-10 & 99 and Far Northwest                            21%
                                              Humble and Kingwood                                     27%




 residents with some college experience worried about                                   The level of worry Houston residents feel about paying
 being evicted or foreclosed on, compared to 6% of                                      their bills and keeping a roof over their head may, in
 residents with a Bachelor’s degree or more. Similar to                                 large part, reflect the documented changes6 in the cost
 the patterns documented above between homeowners                                       of housing and other essential goods in the Houston
 and renters, 1 in 4 renters reported being worried about                               area over the last several years. Houston continues to
 getting evicted compared to 1 in 25 homeowners who                                     be a destination city for many around the country and
 were worried about being foreclosed on.                                                the world, and the last several years has seen significant
                                                                                        development move into areas of the city that historical-
 The different levels of worry across groups of people
                                                                                        ly had experienced disinvestment or underinvestment.7
 in Houston speak to the different lived experienc-
                                                                                        Optimistically, new development has the potential to
 es that often define communities around the city,
                                                                                        reinvigorate neighborhoods, but it could also have the
 which is further evidenced by the differences across
 regions. Around 27% of residents in the Humble and
 Kingwood region and 21% of residents in the I-10 and                                   6     Sherman, S., Potter, D., Kim, A., & Tobin, A. (2023). “The 2023
                                                                                              State of Housing in Harris County and Houston.”Houston, TX:
 State Highway 99 and Far Northwest region reported                                           Kinder Institute for Urban Research, Rice University.
 worrying about being evicted or foreclosed on “often”                                        doi.org/10.25611/6XPV-3115
 or “almost always,” compared to only 4% in the West                                    7     Welch, M. (2021, Sept. 17). These Houston Neighborhoods are
 University and Museum District region and 10% in                                             changing through gentrification. Here’s a look at their past and
                                                                                              present. Houston Chronicle. https://www.houstonchronicle.
 both The Heights, River Oaks and Washington Avenue                                           com/projects/2021/visuals/houston-evolving-neighborhoods-
 region and the Uptown and Memorial region.                                                   gentrification-census/


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  FIGURE      13       Significantly more residents in the Greater Third Ward, Magnolia Park, and
                       Greater Fifth Ward region were concerned with the increasing cost of living in the
                       neighborhood than residents in other regions of the city.

                                                                   0%   10%   20%      30%      40%       50%     60%       70%       80%       90%      100%


                                                        Overall                                     40%




     Region               West University and Museum District                                   36%


        Greater Third Ward, Magnolia Park, Greater Fifth Ward                                                           62%


                The Heights, River Oaks, and Washington Ave.                                       37%


                                         Uptown and Memorial                        22%


                                  Sharpstown, Chinatown, Alief                            30%


                                     Meyerland and Brays Oaks                                32%


                        Greater Hobby Area and Clear Lake City                                34%


                     Northshore, Settegast, and East Little York                                   38%


                   Spring Branch, Fairbanks, and Greater Inwood                                           45%


                                   I-10 & 99 and Far Northwest                                            45%


                                         Humble and Kingwood                                               47%




effect of increased housing costs and displacement of                         always” concerned. The two regions at the opposite
longtime residents. Many Houstonians worry about                              ends of worry about development leading to higher
new development in their neighborhood, and overall,                           costs are perhaps not surprising given prior research8
about 40% of residents reported they “often” or “almost                       that showed neighborhoods in the Greater Third Ward,
always” worried it was making their neighborhood more                         Magnolia Park and Greater Fifth Ward region experi-
expensive. That number was relatively consistent across                       enced high rates of gentrification, while the Uptown
race and ethnic group, education level and age group;                         and Memorial area was uniquely situated as relatively
however, it differed markedly across regions of the city.                     immune to gentrification.

Over 60% of residents in the Greater Third Ward,                              In general, fewer residents were worried about the
Magnolia Park and Greater Fifth Ward region re-                               character of their neighborhood changing because of
ported being worried “often” or “almost always” that                          development than were worried it was becoming more
development was making their neighborhood more                                expensive. About 30% of Houstonians said they were
expensive (Figure 13). That region’s level of worry                           worried “often” or “almost always” about new develop-
was 15 percentage points higher than the next highest                         ment changing the character of their neighborhood.
region — the Humble and Kingwood region at 47%.
The region where the fewest residents expressed worry                         8   Park, J., Guajardo, L., Shelton, K., Sherman, S. & Fulton, W.
                                                                                  (2021). “Re-Taking Stock: Understanding How Trends in the
about rising costs in the neighborhood related to devel-
                                                                                  Housing Stock and Gentrification are connected in Houston
opment was the Uptown and Memorial region, where                                  and Harris County.” Houston, TX: Kinder Institute for Urban
22% of residents reported being “often” or “almost                                Research, Rice University. doi.org/10.25611/MHBK-WQ06


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FIGURE        14       Residents in the Greater Third Ward, Magnolia Park, and Greater Fifth Ward region
                       and those who have lived in Houston longer more often expressed being concerned
                       about new development changing the character of their neighborhood.

                                                                        0%   10%     20%         30%         40%    50%   60%   70%   80%   90%   100%

                                                              Overall                              30%



 Region                   West University and Museum District                                    25%

       Greater Third Ward, Magnolia Park, Greater Fifth Ward                                                        46%

                The Heights, River Oaks, and Washington Ave.                                           31%

                                          Uptown and Memorial                              21%

                                  Sharpstown, Chinatown, Alief                              23%

                                      Meyerland and Brays Oaks                              22%

                        Greater Hobby Area and Clear Lake City                                    27%

                     Northshore, Settegast, and East Little York                                       30%

                   Spring Branch, Fairbanks, and Greater Inwood                                        31%

                                    I-10 & 99 and Far Northwest                                    29%

                                          Humble and Kingwood                                                36%




Time in Houston                                     5 years or less                     20%

                                                        6-19 years                           24%

                                                 20 or more years                                             37%




This was relatively consistent across race and ethnic                                  In addition to the gentrification taking place in the
groups, education levels and age groups. Homeowners                                    Greater Third Ward, Magnolia Park and Greater Fifth
and renters also shared similar levels of concern about                                Ward region, residents’ high levels of worry about it
development changing the character of their neighbor-                                  becoming more expensive and changing its character
hoods. Despite these patterns, levels of worry differed                                may reflect how long they have lived there. About 68%
by region. The Greater Third Ward, Magnolia Park and                                   of survey respondents from the Greater Third Ward,
Greater Fifth Ward region had the highest level, with                                  Magnolia Park, and Greater Fifth Ward region have
almost half of residents (46%) saying they were “often”                                lived in Houston for 20 years or longer, and how long a
or “almost always” concerned with new development                                      resident has lived in Houston was related to being wor-
changing the character of their neighborhood (Figure                                   ried about the changing character of a neighborhood.
14). The level of worry expressed by residents in this                                 Across the city, nearly 40% of residents who had lived
region was 10 percentage points higher than the next                                   in Houston for 20 years or longer said they were wor-
highest region: the Humble and Kingwood region at                                      ried about new development changing the character of
36%. The lowest levels of worry came from residents in                                 their neighborhood, compared to just 20% of residents
the Uptown and Memorial region (21%), the Meyerland                                    who had lived in the Houston area for 5 years or less.
and Brays Oaks region (22%) and the Sharpstown,
Chinatown and Alief region (23%).




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Top Priorities for Houston’s
Next Mayor


R
      esidents’ top 3 priorities for Houston’s next                   Looking across age groups, young adults had a lower
      mayor were: 1) reduce crime, 2) improve physical                percentage — 70% — saying it was “very important” for
infrastructure and 3) make housing more affordable                    the next mayor to do something to reduce crime, com-
(Figure 15).                                                          pared to 84% of adults aged 30 to 54 years old and 87%
                                                                      of older adults (Figure 16).
Reduce Crime
                                                                      The percentage of residents saying it was “very import-
Overall, 81% of Houston residents said it was “very im-               ant” to do something to reduce crime was also high
portant” for the next mayor to reduce crime. While this               across all regions throughout the city. The Heights,
number varied across groups and regions of the city, it               River Oaks and Washington Avenue region was the
remained consistently high. For instance, 90% of Black                only one to have less than 70% saying it was “very
residents said it was very important for the next may-                important” to reduce crime, with 63%. The Northshore,
or to do something to reduce crime, the highest share                 Settegast and East Little York region had the high-
among all race and ethnic groups. White residents had                 est percentage of residents (94%) saying it was “very
the lowest percentage saying it was very important, yet               important” to reduce crime. The 30-percentage-point
even that number was 73%. Three-quarters of Asian                     difference between regions is large, but of the remain-
residents said it was “very important” for the next may-              ing nine regions, three of them were 70% or higher, and
or to reduce crime, as did 83% of Hispanic residents.                 the other six were over 80%.



  FIGURE       15      The top 3 priorities that residents identified for the next mayor were to reduce crime,
                       improve the physical infrastructure, and make housing more affordable.

                                                Reduce crime                                                                  81%
                            Improve physical infrastructure
(for example, drainage, power lines, water supply, and roads)                                                        73%

                              Make housing more affordable                                                           73%

           Prevent cuts to programs for children and seniors                                                      69%

                                       Keep local taxes down                                                63%

                                 Fund mental health services                                             61%

                    Reduce the gap between the rich and poor                                          58%

                                            Create more jobs                                        57%
                               Expand public transportation
                 (for example, more bus routes and light rail)                                    54%

                    Make the city more attractive to business                             44%

                              Add bike lanes on more streets                        38%

                                                                 0%   20%         40%              60%                  80%               100%




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FIGURE        16      Over 80% of Houstonians think it is “very important” for the next mayor to
                      reduce crime.
                                                                           0%   10%    20%   30%   40%    50%   60%    70%    80%        90%        100%

                                                                 Overall                                                            81%


Race and ethnicity                                                Asian                                                       74%
                                                                  Black                                                                       90%
                                                               Hispanic                                                                 83%
                                                                 White                                                       73%


Age                                     Young adult (18-29 years old)                                                       70%
                                               Adult (30-54 years old)                                                                  84%
                                   Older adult (55 years old or older)                                                                    87%


How often feel unsafe in day-to-day life                          Never                                                           77%
                                                                 Rarely                                               63%
                                                              Sometimes                                                                   86%
                                                                  Often                                                                             95%
                                                        Almost always                                                                                99%


Region                        West University and Museum District                                                             75%
           Greater Third Ward, Magnolia Park, Greater Fifth Ward                                                                    80%
                     The Heights, River Oaks, and Washington Ave.                                                     63%
                                                Uptown and Memorial                                                                 81%
                                        Sharpstown, Chinatown, Alief                                                                     85%
                                           Meyerland and Brays Oaks                                                                           89%
                            Greater Hobby Area and Clear Lake City                                                                76%
                         Northshore, Settegast, and East Little York                                                                            93%
                      Spring Branch, Fairbanks, and Greater Inwood                                                                      84%
                                          I-10 & 99 and Far Northwest                                                        73%
                                               Humble and Kingwood                                                                        86%




Even with widespread consensus across groups of peo-                                  by improving funding to mental health services and
ple and areas of the city that the next mayor needs to do                             community policing, 67% of Houstonians said they
something to make Houston a safer place to live, that                                 “strongly agreed.” Looking at responses to these two
message was particularly strong from residents who                                    items together, 47% said they “strongly agreed” with
reported feeling unsafe in their day-to-day lives. Having                             both policy positions, and 18% did not “strongly agree”
the next mayor do something to reduce crime was “very                                 with either approach to reducing crime (Figure 17).
important” to 86% of residents who reported some-
                                                                                      Of residents expressing support for one policy but not
times feeling unsafe, 95% of residents who reported
                                                                                      the other, about 14% of residents “strongly agreed” the
often feeling unsafe, and 99% of residents who almost
                                                                                      next mayor should use tough-on-crime policies and did
always felt unsafe. Residents whose current circum-
                                                                                      not express the same level of support for community
stances do not afford them the basic necessity of safety
                                                                                      policing. More than 21% of Asian residents and 19% of
and security lead the call for a mayor who will make
                                                                                      White residents belonged to this group, compared with
reducing crime a top and immediate priority.
                                                                                      only 7% of Black residents and 13% of Hispanic resi-
Residents across the city very clearly issued a mandate                               dents. Across education levels, 19% of residents with
for the next mayor to make the city safer, but were less                              a Bachelor’s degree or more expressed support only
clear on the exact policies to use. When asked if they                                for tough-on-crime policies — the highest percentage
thought Houston needed a mayor who would enact                                        across education levels — compared to 15% of residents
“tough on crime” policies, 61% of Houstonians said                                    with some college experience and 10% of residents who
they “strongly agreed.” When asked if they thought                                    had up to a high school diploma (Figure 18).
Houston needed a mayor who would make the city safer

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  FIGURE          17      Nearly half of Houstonians agreed the next mayor should use “tough on crime”
                          and “community policing” policies to reduce crime; almost 1 in 5 Houstonians
                          did not support either.



                         Supports neither policy              18%




 Improve public safety through mental health
                                                                                47%                                                 21%
services, counseling, and community policing




     Reduce crime by increasing police funding
                                                                                47%                                           14%
        and adopting “tough on crime” policies



                                                   0%          10%            20%              30%           40%        50%           60%          70%           80%
                                                                                    Supports both policies          Supports one policy




FIGURE       18        Few Houstonians expressed support only for “tough on crime” policies, but nearly
                       1 in 5 residents with a bachelor’s degree did.

                                                                         0%     10%        20%         30%    40%      50%     60%        70%     80%      90%      100%

                                                               Overall                     14%


Race and ethnicity                                              Asian                                21%
                                                                Black               7%
                                                             Hispanic                     13%
                                                               White                            19%


Education level                                 High school diploma                  10%
                                                         Some college                      15%
                                          Bachelor's degree or more                              19%


Houston is a safe place to live                     Strongly disagree                                  24%
                                                             Disagree                          17%
                                                                Agree                    11%
                                                        Strongly agree          6%


Region                        West University and Museum District                              16%
           Greater Third Ward, Magnolia Park, Greater Fifth Ward                     10%
                       The Heights, River Oaks, and Washington Ave.                            16%
                                              Uptown and Memorial                                     23%
                                       Sharpstown, Chinatown, Alief                            18%
                                          Meyerland and Brays Oaks                       12%
                            Greater Hobby Area and Clear Lake City                       12%
                          Northshore, Settegast, and East Little York                9%
                       Spring Branch, Fairbanks, and Greater Inwood                        15%
                                        I-10 & 99 and Far Northwest                        16%
                                              Humble and Kingwood                              16%




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Singular support for tough-on-crime policies also varied                             crime in the city, compared to 6% of residents who
depending on the region where the resident lived. The                                strongly agreed with the statement.
region with the most residents supporting only tough-
                                                                                     In terms of singular support for community policies,
on-crime policies was the Uptown and Memorial region
                                                                                     about 21% of residents strongly agreed that the next
with 23%, and it was the only region in the entire city to
                                                                                     mayor should use it as the policy for reducing crime,
have more than 20% of its residents take that position.
                                                                                     while not supporting tough-on-crime policies. This
The region with the second-most residents support-
                                                                                     percentage remained relatively consistent across race
ing only tough-on-crime policies was the Sharpstown,
                                                                                     and ethnic groups and education levels, although it
Chinatown and Alief region with 18%. The regions
                                                                                     did vary a bit depending on the region where a resi-
with the fewest residents supporting only tough-on-
                                                                                     dent lived. The Heights, River Oaks and Washington
crime policies were the Northshore, Settegast and East
                                                                                     Avenue region had the largest share of residents
Little York region with 9% and the Greater Third Ward,
                                                                                     singularly supporting community policing with 35%;
Magnolia Park and Greater Fifth Ward region with 10%.
                                                                                     no other region had more than 30%. The region with
Finally, residents’ perceptions of the city as a safe place                          the fewest residents singularly supporting community
to live also shaped their support of tough-on-crime                                  policing was the Northshore, Settegast and East Little
policies. About 24% of residents who strongly disagreed                              York region with 13%.
with the statement “Houston is a safe place to live”
singularly supported tough-on-crime policies to reduce




FIGURE        19      Nearly half of residents expressed favor toward both “tough on crime” and
                      “community policing” approaches to public safety.

                                                                          0%   10%    20%   30%    40%        50%     60%        70%     80%   90%   100%

                                                                Overall                                        47%


Race and ethnicity                                               Asian                              36%
                                                                 Black                                                    56%
                                                              Hispanic                                              51%
                                                                White                               37%


Education level                                   High school diploma                                                      58%
                                                          Some college                                         46%
                                            Bachelor's degree or more                             33%


Neighborhood is a safe place to live                 Strongly disagree                                                             69%
                                                              Disagree                                               52%
                                                                 Agree                                    43%
                                                         Strongly agree                                  41%


Region                        West University and Museum District                                       38%
           Greater Third Ward, Magnolia Park, Greater Fifth Ward                                                    50%
                     The Heights, River Oaks, and Washington Ave.                                 32%
                                                Uptown and Memorial                                      40%
                                        Sharpstown, Chinatown, Alief                                                50%
                                           Meyerland and Brays Oaks                                                 50%
                            Greater Hobby Area and Clear Lake City                                             47%
                         Northshore, Settegast, and East Little York                                                        61%
                      Spring Branch, Fairbanks, and Greater Inwood                                            44%
                                          I-10 & 99 and Far Northwest                                     43%
                                               Humble and Kingwood                                                  50%




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                                                                                                                                         Photo by Jason Lawrence on flickr
Although half of all residents expressed dual support      and Kingwood region, both at 50%. The region with
for both tough-on-crime and community policing poli-       the fewest residents expressing dual support was The
cies, dual support was highest among Black residents,      Heights, River Oaks and Washington Avenue region
56% of whom strongly agreed with both policies, and        with 32%, and the region with the second-fewest resi-
lowest among Asian residents, 36% of whom strongly         dents expressing dual support was the West University
agreed with both policies. About 37% of White resi-        and Museum District region with 38%.
dents and 51% of Hispanic residents reported dual
                                                           Level of support for both tough-on-crime and communi-
support. Across education levels, residents who earned
                                                           ty policing policies also differed depending on residents’
up to a high school diploma more frequently indicat-
                                                           perceptions of their neighborhood’s safety. Almost 69%
ed dual support — 58% reported strongly agreeing
                                                           of residents who strongly disagreed with the statement
with both policies, compared to 46% of residents with
                                                           “My neighborhood is a safe place to live” supported
some college experience and 33% of residents with a
                                                           both tough-on-crime and community policing policies,
Bachelor’s degree or more (Figure 19).
                                                           compared to 41% of residents who strongly agreed.
Supporting both tough-on-crime and community
                                                           A clear consensus from Houston residents is that they
policing policies also varied by the region where the
                                                           want the next mayor to do something to reduce crime.
resident lived. The region with the most residents
                                                           Some residents are interested in seeing crime addressed
expressing dual support was the Northshore, Settegast
                                                           by utilizing specific policies and practices, but oth-
and East Little York region with 61%. No other region
                                                           ers — particularly those feeling unsafe in their neighbor-
had more than 60% of its residents express dual sup-
                                                           hood and in their day-to-day lives — may be less con-
port, though there were two regions where at least half
                                                           cerned about the exact policy used and more concerned
of residents did: the Greater Third Ward, Magnolia
                                                           with something simply getting done.
Park and Greater Fifth Ward region, and the Humble

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Improve Physical Infrastructure                                                         overall views and attitudes about how well Houston has
                                                                                        prepared its infrastructure for the future.
Nearly three-quarters of Houstonians said it was “very
important” for the next mayor to focus on policies that                                 About 90% of residents who rated the condition of the
improve the physical infrastructure of the city, includ-                                streets and roads in their neighborhood as failing said
ing drainage, power lines, water supply and roads.                                      it was “very important” for the next mayor to focus on
More Black residents — 82% — said they wanted the                                       policies that would improve infrastructure, which was a
next mayor to focus on physical infrastructure than any                                 higher percentage than any other group based on rating
other race or ethnicity, with 73% of White residents,                                   of road conditions.
72% of Hispanic residents, and 60% of Asian residents
                                                                                        Around 81% of residents who were very concerned
prioritizing the same (Figure 20).
                                                                                        with traffic congestion felt it was “very important” for
Residents’ support of policies to improve infrastruc-                                   the next mayor to focus on infrastructure, compared
ture were also related to their views on the condition                                  to about 65% of residents who were not as concerned
of their neighborhood streets and roads, concern with                                   about traffic congestion.
traffic congestion, and concern with climate change
                                                                                        Finally, as concern about climate change increased, so
and its environmental impacts. The first two variables
                                                                                        did the percentage of residents listing infrastructure as
look specifically at attributes of physical infrastructure,
                                                                                        something “very important” for the next mayor to focus
mainly those of roads and their functionality and condi-
                                                                                        on. Specifically, of residents who were not concerned
tion. The third variable serves as a proxy for residents’
                                                                                        with climate change, about 66% wanted the next mayor


FIGURE        20      Nearly three-quarters of Houstonians want to see the mayor focus on policies that
                      will improve the city’s physical infrastructure.

                                                                                   0%     10%   20%   30%   40%   50%   60%    70%    80%     90%   100%

                                                                        Overall                                                       73%

Race and ethnicity                                                        Asian                                           60%
                                                                          Black                                                              82%
                                                                       Hispanic                                                      72%
                                                                         White                                                        73%

Condition of street pavement in neighborhood                            Failing                                                                    90%
                                                                          Poor                                                          78%
                                                                       Average                                                   68%
                                                                         Good                                                 63%
                                                                      Excellent                                                     73%

Concern with traffic congestion                                  Not concerned                                                 65%
                                                              A little concerned                                                66%
                                                                      Concerned                                                65%
                                                                Very concerned                                                              81%

Concern about climate change and                                 Not concerned                                                  66%
its environmental impacts                                     A little concerned                                                 69%
                                                                      Concerned                                                   70%
                                                                Very concerned                                                              80%

Region                                West University and Museum District                                                         70%
                      Greater Third Ward, Magnolia Park, Greater Fifth Ward                                                                83%
                              The Heights, River Oaks, and Washington Ave.                                                                81%
                                                       Uptown and Memorial                                                             75%
                                               Sharpstown, Chinatown, Alief                                                        70%
                                                   Meyerland and Brays Oaks                                                                83%
                                    Greater Hobby Area and Clear Lake City                                                            74%
                                  Northshore, Settegast, and East Little York                                                         74%
                               Spring Branch, Fairbanks, and Greater Inwood                                                     64%
                                                 I-10 & 99 and Far Northwest                                                  62%
                                                       Humble and Kingwood                                                           72%




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to focus on infrastructure, compared to 80% of resi-                               built environment was related to their perceptions of
dents who were very concerned with climate change.                                 safety in their neighborhood, as residents who reported
                                                                                   having better streetlights also reported feeling safer in
Support for physical infrastructure improvements also
                                                                                   their neighborhood at night. Specifically, only 17% of
varied across regions of the city. The regions with the
                                                                                   residents who rated their streetlights as “failing” also
most residents saying it will be “very important” for the
                                                                                   felt like their neighborhood was safe to walk in at night,
next mayor to improve the physical infrastructure of the
                                                                                   compared to 63% of residents who rated their street-
city were the Greater Third Ward, Magnolia Park and
                                                                                   lights as “excellent.” Similar patterns were observed
Greater Fifth Ward region (83%), the Meyerland and
                                                                                   according to residents’ ratings of sidewalks and streets
Brays Oaks region (83%), and The Heights, River Oaks
                                                                                   in their neighborhood. Building better infrastructure
and Washington Avenue region (81%). Regions with the
                                                                                   builds safer communities.
fewest residents saying it will be “very important” for
the next mayor to improve the physical infrastructure                              Despite some of the large differences in how people and
were the I-10 and State Highway 99 and Far Northwest                               regions prioritize improving infrastructure in Houston,
region (62%), and the Spring Branch, Fairbanks and                                 60% of every group and region examined said it was
Greater Inwood region (64%).                                                       “very important” that the next mayor do something to
                                                                                   improve the physical infrastructure of Houston. Across
Investments in Houston’s physical infrastructure have
                                                                                   differences, a clear message came through: Residents
the potential to change how residents move and im-
                                                                                   want the city’s infrastructure improved.
prove the city’s resiliency, and may also contribute to a
safer city. Residents’ perception of the quality of their


FIGURE      21       Overall about three-quarters of Houstonians said making housing more affordable
                     was “very important” for the next mayor, but this percentage varied significantly
                     across subgroups.
                                                                              0%     10%   20%   30%   40%    50%     60%       70%    80%     90%        100%

                                                                    Overall                                                            73%

Race and ethnicity                                                   Asian                                             55%
                                                                     Black                                                                          89%
                                                                  Hispanic                                                                    80%
                                                                    White                                              56%

Education level                                       High school diploma                                                                      84%
                                                              Some college                                                               77%
                                                 Bachelor's degree or more                                             55%

Homeownership                                                       Owner                                                  60%
                                                                    Renter                                                                     84%

Worried about keeping up with the bills                       Never/rarely                                          52%
                                                               Sometimes                                                               74%
                                                      Often/almost always                                                                       86%

Worried about paying the mortgage or rent                     Never/rarely                                                58%
                                                               Sometimes                                                               74%
                                                      Often/almost always                                                                            89%

Concerned about the cost of housing                         Not concerned                                      46%
                                                         A little concerned                                  43%
                                                                 Concerned                                            54%
                                                           Very concerned                                                                           87%

Region                               West University and Museum District                                                      64%
                     Greater Third Ward, Magnolia Park, Greater Fifth Ward                                                               77%
                             The Heights, River Oaks, and Washington Ave.                                            53%
                                                      Uptown and Memorial                                              57%
                                              Sharpstown, Chinatown, Alief                                                                     83%
                                                  Meyerland and Brays Oaks                                                            71%
                                   Greater Hobby Area and Clear Lake City                                                               74%
                                 Northshore, Settegast, and East Little York                                                                         90%
                              Spring Branch, Fairbanks, and Greater Inwood                                                       67%
                                                I-10 & 99 and Far Northwest                                                               79%
                                                      Humble and Kingwood                                                                77%



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                                                                                                                                   Photo by U.S. Dept. of Housing and Urban Development (HUD) on flickr
Make Housing More Affordable                                        had less than 60% of their residents say the next mayor
                                                                    needed to prioritize making housing more affordable:
Similar to the percentage of residents wanting the next
                                                                    The Heights, River Oaks and Washington Avenue region
mayor to prioritize improving the physical infrastruc-
                                                                    (53%) and the Uptown and Memorial region (57%).
ture of the city, about three-quarters of residents want
the mayor to prioritize making housing more affordable              Some of the largest differences in support for afford-
in Houston. Support for making housing more afford-                 able housing were based on how respondents answered
able varies greatly from group to group, across geogra-             questions about housing costs. Only 52% of residents
phy, and based on the conditions and circumstances of               who never or rarely worried about paying their bills
residents (Figure 21).                                              thought making housing more affordable needed to
                                                                    be a priority of the next mayor, compared to 74% of
There are large differences in people’s support of mak-
                                                                    residents who “sometimes” worried about paying their
ing housing more affordable by race and ethnicity, with
                                                                    bills and 86% of residents who “often” or “almost al-
Black and Hispanic residents being more supportive
                                                                    ways” worried about paying their bills. Similar patterns
than White and Asian residents. Specifically, about
                                                                    were observed for residents based on whether or not
55% of Asian residents and 56% of White residents feel
                                                                    they worried about paying their mortgage or rent each
it will be “very important” for the next mayor to make
                                                                    month. Residents who expressed the greatest concern
housing more affordable, compared to 80% of Hispanic
                                                                    about the cost of housing in Houston were also the ones
respondents and 89% of Black respondents. Similarly
                                                                    elevating affordable housing as a priority area for the
wide gulfs exist based on education level: 55% of resi-
                                                                    next mayor. Specifically, 87% of residents who were
dents with a Bachelor’s degree or more support making
                                                                    very concerned with the cost of housing said it was
housing more affordable, compared to 84% of residents
                                                                    “very important” for the next mayor to do something to
with up to a high school diploma. Yet another large
                                                                    make housing more affordable. In contrast, only 46% of
divide exists between homeowners and renters: 60%
                                                                    residents who were not concerned and 43% of residents
of homeowners want to see housing made more afford-
                                                                    who were only a little concerned with the cost of hous-
able, compared to 84% of renters in Houston.
                                                                    ing in Houston indicated that they felt the next mayor
The region with the most residents wanting policies                 needed to focus on making housing more affordable.
to make housing more affordable was the Northshore,
                                                                    Despite some large variability, most groups and regions in
Settegast and East Little York region, where 90% of resi-
                                                                    the city saw a majority of individuals indicating support
dents felt such policies were “very important” for the next
                                                                    for policies that would make housing more affordable.
mayor. On the other end of the spectrum, two regions


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Concluding Thoughts



A
     s Houston prepares to go to the polls in November         at best provide temporary solutions and at worst have
     to elect its next mayor, the topics on the minds of       no impact and waste the city’s limited resources.
most residents are: crime and safety, infrastructure and
                                                               Finding the right policy levers to respond to the im-
the cost of housing. This conclusion is based on insights
                                                               mediate needs of Houston residents, while making the
gathered from all Houston residents, not just those
                                                               long-term investments to address systemic inequalities,
registered to vote. For that reason, the top priority areas
                                                               will require informed and intentional efforts by the next
may not align with the priorities of voters, but for may-
                                                               mayor and their administration. The data in this report
oral candidates looking to be a leader for all of Houston,
                                                               may be used by community members, advocates, and
these are the policy areas that most Houstonians want
                                                               other stakeholders to hold the next mayor accountable
to see action around.
                                                               by informing the debate around issues, pressing can-
Yet even as these findings may provide a set of man-           didates to develop and take policy positions to address
dates from residents, they come from populations               them, and setting a baseline from which future data and
experiencing very different versions of the same city.         research can determine if real progress is being made.
For example, over 90% of residents in Uptown and
                                                               Regardless of who wins the election, the next mayor
Memorial live in a neighborhood they feel is safe. That
                                                               must govern with all Houstonians in mind, understand-
statistic signals a fundamentally different lived experi-
                                                               ing the context and circumstances forming the foun-
ence compared to the Northshore, Settegast, and East
                                                               dation of the community’s mandates, and by doing so,
Little York region, where only half of residents feel it
                                                               lead all of Houston into a better tomorrow.
is safe. Consider also the uneven distribution of worry
across groups in Houston, where 1 in 4 renters is reg-
ularly worried they are going to be evicted, compared
to 1 in 25 homeowners who are fretted by the threat of
foreclosure. Houston is a majority-renter city, so having
1 in 4 renters fearful that they will lose their housing
translates to hundreds of thousands of residents unsure
about where they may be living next month.

For Houston’s next mayor to truly address the mandates
put forth by residents of the city, their efforts and policy
proposals must begin to get at the root causes of the con-
ditions giving rise to the mandates. One in three Houston
residents lack a basic sense of safety and 1 in 4 renters
anxiously wonders about where they will be living next
month, meaning two of the fundamental necessities
for human growth and development (i.e., feeling safe
and having stable housing) are not met for many people
throughout the city. Policies that fail to meet these basic
needs and address the root causes producing them will

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